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3
     Attorney for defendant,
4    Michael Ray Taylor, Jr.
5
                           UNITED STATES DISTRICT COURT
6
                   FOR THE EASTERN DISTSRICT OF CALIFORNIA
7

8                                             ) Case No. 2:12-CR-0375 TLN
     UNITED STATES OF AMERICA,                )
9                                             ) STIPULATION AND ORDER
                  Plaintiff,                  ) CONTINUING DATE FOR
10                                            ) JUDGMENT AND SENTENCING
           vs.                                )
11                                            )
     MICHAEL RAY TAYLOR, JR.,                 )
12                                            )
                  Defendant.                  )
13

14      Plaintiff, United States of America, by and through its counsel of record, and
15
     Defendant, by and through its counsel of record, hereby stipulate as follows:
16
        The sentencing date of March 9, 2017 be continued to May 11, 2017 at 9:30
17

18   a.m. The parties agree to the following schedule concerning the PSR:
19
      Judgment and Sentencing Date                May 11, 2017, 9:30 a.m.
20
     Reply, or Statement of Non-Opposition May 4, 2017
21

22   Motion for Correction of the PSR shall       April 27, 2017
     be filed with the court and served on
23
     the Probation Officer and opposing
24   counsel no later than
     The PSR shall be filed with the Court        April 20, 2017
25
     and disclosed to counsel no later than
26

                                              1
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1
     Counsel’s written objections to the     April 13, 2017
     PSR shall be delivered to the Probation
2    Officer and opposing counsel no later
3
     than
     The proposed PSR shall be disclosed to March 30, 2017
4    counsel no later than
5

6       IT IS SO STIPULATED
7
     DATED: March 6, 2017                       /s/ Timothy E. Warriner, Attorney for
8                                               Defendant, Michael Taylor, Jr.
9

10   DATED: March 6, 2017                       /s/ Jared C. Dolan, Assistant
                                                U.S.Attorney
11

12

13
                                         ORDER
14
           GOOD CAUSE APPEARING, the court hereby continues the date for
15

16   pronouncement of judgment and sentence from March 9, 2017 to May 11, 2017 at
17
     9:30 a.m. The court adopts the above schedule concerning the PSR.
18

19
     DATED: March 6, 2017
20

21                                                Troy L. Nunley
                                                  United States District Judge
22

23

24

25

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                                            2
